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            Of Attorneys for Defendant Cyrus Andrew Sullivan




                            IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF OREGON

     UNITED STATES OF AMERICA,
                                                          Case No. 3: 13-CR-00064-HZ
                                       Plaintiff,
                                                          PETITION TO ENTER PLEA OF
            v.                                            GUILTY, CERTIFICATE OF
                                                          COUNSEL, AND ORDER ENTERING
     CYRUS ANDREW SULLIVAN                                PLEA OF GUILTY

                                      Defendant.



           The defendant represents to the court:

            1.    My name is Cyrus Andrew Sullivan. I am 29 years old. I have gone to school

     up to and including earning a college degree.

           2.     My attorney is Per C. Olson.

           3.     My attorney and I have discussed my case fully. I have received a copy of

     the Superseding Information. I have read the Information, or it has been read to me, and I

     have discussed it with my attorney. My attorney has counseled and advised me

     concerning the nature of each charge, any lesser-included offense, and the possible

     defenses that I might have in this case. I have been advised and understand that the

     elements of the charge(s) alleged against me to which I am pleading "GUlL TY" are as

     follows: transmitting in interstate commerce any communication containing any threat to


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     injure the person of another, which a reasonable person would take as a serious

     expression of an intention to inflict bodily harm on the person. I have had a full and

     adequate opportunity to disclose to my attorney all facts known to me that relate to my

     case. I understand that the Court may ask whether I am satisfied with the advice I have

     received from my attorney.

                4.          I know that if I plead "GUlL TY," I will have to answer any questions that the

     judge asks me about the offense to which I am pleading guilty. I also know that if I answer

     falsely, under oath, and in the presence of my attorney, my answers could be used against

     me in a prosecution for perjury or false statement.

                5.          I am not under the influence of alcohol or drugs. I am not suffering from any

     injury, illness or disability affecting my thinking or my ability to reason except as follows:

     ---'-A-'.:s"-"p'--=e:.:...r""-ge=r'-"s'-'-,-'-P-'T--"S=D:::...._.D=e+=-p_,_,re=s=s:..:..:io=n..:.______ . I have not taken any drugs or medications

     within the past seven (7) days except as follows: Seroquil and Oxcarbayzatene



                6.         I understand that conviction of a crime can result in consequences in addition

     to imprisonment. Such consequences include deportation, or removal from the United

     States, or denial of naturalization, if I am not a United States citizen; loss of eligibility to

     receive federal benefits; loss of certain civil rights (which may be temporary or permanent

     depending on applicable state or federal law), such as the right to vote, to hold public

     office, and to possess a firearm; and loss of the privilege to engage in certain occupations

     licensed by the state or federal government.

                7.         I know that I may plead "NOT GUlL TY" to any crime charged against me and

     that I may persist in that plea if it has already been made. I know that if I plead "NOT

     GUlL TY" the Constitution guarantees me:

                           a.         The right to a speedy and public trial by jury, during

                           which I will be presumed to be innocent unless and until I am


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                    proven guilty by the government beyond a reasonable doubt

                    and by the unanimous vote of twelve jurors;



                    b.     The right to have the assistance of an attorney at all

                    stages of the proceedings;



                   c.      The right to use the power and process of the court to

                   compel the production of evidence, including the attendance of

                   witnesses in my favor;



                   d.     The right to see, hear, confront, and cross-examine all

                   witnesses called to testify against me;



                   e.     The right to decide for myself whether to take the witness

                   stand and testify, and if I decide not to take the witness stand, I

                   understand that no inference of guilt may be drawn from this

                   decision; and



                   f.     The right not to be compelled to incriminate myself.



            8.     I know that if I plead "GUlLTY" there will be no trial before either a judge or a

     jury, and that I will not be able to appeal from the judge's denial of any pretrial motions I

     may have filed concerning matters or issues not related to the court's jurisdiction.

            9.     In this case I am pleading "GUlL TY" under Rule 11 (c)(1 )(B). My attorney has

     explained the effect of my plea under Rule 11 (c)(1 )(B) to be as follows:




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            My plea of guilty is under Rule 11 (c)(1 )(B); therefore, although the judge will

            consider the recommendations and agreements of both the prosecution and

            defense attorneys concerning sentencing, the judge is not obligated to follow

            those recommendations or agreements. If the judge imposes a sentence

            different from what I expected to receive under the terms of my Plea

            Agreement with the prosecutor, I do not have a right to withdraw my plea.



            10.    I know the maximum sentence which can be imposed upon me for the crime

     to which I am pleading guilty is 5 imprisonment and a fine of $250,000. I also know there is

     a mandatory minimum sentence of 0 years imprisonment.

            11.    I know that the judge, in addition to any other penalty, will order a special

     assessment as provided by law in the amount of $100 per count of conviction.

            12.    I know that if I am ordered to pay a fine, and I willfully refuse to pay that fine, I

     can be returned to court, where the amount of the unpaid balance owed on the fine can be

     substantially increased by the judge and I can be imprisoned for up to one year.

            13.    My attorney has discussed with me the Federal Sentencing Guidelines.

     know that the Guidelines are advisory, not mandatory. I also know the sentencing judge,

     in determining the particular sentence to be imposed, must consider those factors set forth

     in Title 18, United States Code, Section 3553(a), including but not limited to: the nature and

     circumstances of the offense, my own history and characteristics, the goals of sentencing

     (punishment, deterrence, protection and rehabilitation) and the sentencing range

     established by the advisory Guidelines. If my attorney or any other person has calculated

     a guideline range for me, I know that this is only a prediction and advisory and that it is the

     judge who makes the final decision as to what the guideline range is and what sentence

     will be imposed. I also know that a judge may not impose a sentence greater than the

     maximum sentence referred to in paragraph (1 0) above.


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             14.    I know from discussion with my attorney that, under the Federal Sentencing

     Guidelines, if I am sentenced to prison I am not entitled to parole. I will have to serve the

     full sentence imposed except for any credit for good behavior that I earn. I can earn credit

     for good behavior in prison at a rate of up to 54 days for each year of imprisonment served.

     Credit for good behavior does not apply to a sentence of one year or less.

            15.     I know that if I am sentenced to prison, the judge will impose a term of

     supervised release to follow the prison sentence. During my supervised release term I will

     be supervised by a probation officer according to terms and conditions set by the judge. In

     my case, a term of supervised release can be 1 to 3 years. If I violate the conditions of

     supervised release, I may be sent back to prison for up to 2 years.

            16.    I know that in addition to or in lieu of any other penalty, the judge can order

     restitution payments to any victim of any offense to which I plead guilty. I am also informed

     that, for certain crimes of violence and crimes involving fraud or deceit, it is mandatory that

     the judge impose restitution in the full amount of any financial loss or harm caused by an

     offense. If imposed, the victim can use the order of restitution to obtain a civil judgment

     lien. A restitution order can be enforced by the United States for up to twenty (20) years

     from the date of my release from imprisonment, or, if I am not imprisoned, twenty (20)

     years from the date of the entry of judgment. If I willfully refuse to pay restitution as

     ordered, a judge may resentence me to any sentence which could originally have been

     imposed.

            17.    On any fine or restitution in an amount of $2,500 or more, I know that I will be

     required to pay interest unless that fine or restitution is paid within fifteen (15) days from

     the date of the entry of judgment.

            18.    If I am on probation, parole, or supervised release in any other state or

     federal case, I know that by pleading guilty in this court my probation, parole or supervised

     release may be revoked and I may be required to serve time in that case, which may be


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     consecutive , that is , in addition to any sentence imposed on me in this court.

             19.    If I have another case pending in any state or federal court, I know that my

     Petition and Plea Agreement in this case do not, in the absence of an express and written

     agreement, apply to my other case(s), and that I can be faced with consecutive sentences

     of imprisonment.

            20.     My plea of "GUlL TY" is based on a Plea Agreement that I have made with

     the prosecutor. That Plea Agreement is attached hereto and incorporated herein. I have

     read or had read to me the Plea Agreement, and I understand the Plea Agreement.

            21 .    The Plea Agreement contains the only agreement between the United States

     government and me. No officer or agent of any branch of government (federal , state or

     local) or anyone else has promised or suggested that I will receive a lesser term of

     imprisonment, or probation, or any other form of leniency if I plead "GUlL TY" except as

     stated in the Plea Agreement. I understand that I cannot rely on any promise or

     suggestion made to me by a government agent or officer which is not stated in writing in

     the Plea Agreement, or which is not presented to the judge in my presence in open court at

     the time of the entry of my plea of guilty.

            22 .   My plea of "GUlL TY" is not the result of force, threat, or intimidation.

            23.    I hereby request that the judge accept my plea of "GUlL TY" to Count 1 of the

     Superseding Information.


            24 .   I know that the judge must be satisfied that a crime occurred and that I

     committed that crime before my plea of "GUlL TY" can be accepted . With respect to the

     charge(s) to which I am pleading guilty, I represent that I did the following acts and that the

     following facts are true:
                                             't-- -
                                                      ~
                   On or about June 4, 20.JY. in      e District of Oregon , I knowingly

                   and intentionally transmitted in interstate commerce an email

                   communication containing a threat to injure the person of another.

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       25.     I offer my plea of "GUlL TY" freely and voluntarily and of my own accord and with

a full understanding of the allegations set forth in the Indictment or Information, and with a full

understanding of the statements set forth in this Petition and in the Certificate of my attorney

that is attached to this Petition.

       SIGNED by me in the presence of my attorney, after reading (or having had read to me)

all of the foregoing pages and paragraphs of this Petition on this 15th day of April, 2013 .




                                           Cyrus Sullivan
                                           Defendant




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                                CERTIFICATE OF COUNSEL

       The undersigned, as attorney for defendant Cyrus Sullivan , hereby certifies:

       1.     I have fully explained to the defendant the allegations contained in the Indictment

or Information in this case, any lesser-included offense(s), and the possible defenses which

may apply in this case.

       2.     I have personally examined the attached Petition To Enter Plea of Guilty And

Order Entering Plea, explained all its provisions to the defendant, and discussed fully with the

defendant all matters described and referred to in the Petition.

       3.     I have explained to the defendant the maximum penalty and other consequences

of entering a plea of guilty described in paragraphs (6)-(20) of the Petition, and I have also

explained to the defendant the applicable Federal Sentencing Guidelines.

      4.      I recommend that the Court accept the defendant's plea of "GUlL TY ."

      SIGNED by me in the presence of the above-named defendant, and afterfull discussion

with the defendant of the contents of the Petition To Enter Plea of Guilty, and any Plea

Agreement, on this 15'h day of April, 2013. ~             L
                                          Per C. Olson
                                          Attorney for Defendant




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                                 ORDER ENTE RING PLEA

       I find that the defendant's plea of GUlL TY has been made freely and volunta rily and not

out of ignorance, fear, inadvertence , or coercion. I further find the defendant has admitted

facts that prove each of the necessary elements of the crime(s) to which the defendant has

pled guilty.

       IT IS THEREFORE ORDERED that the defendant's plea of GUlL TY be accepted and

entered as requested in this Petition and as recommended in the Certificate of defendant's

attorney.

       DATED this 15th day of April. 2013, in open court.
